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                                UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                            CIVIL MINUTES

Date: May , 2024           Time: 4 hours  minutes        Judge: YVONNE GONZALEZ ROGERS
Case No.: 20-cv-05640-YGR    Case Name: Epic Games v. Apple Inc.



  Attorney for Plaintiff: Gary Bornstein, Yonatan Even, Lauren Moskowitz, Michael Zaken,
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  Attorney for Defendant: Mark Perry, Rich Doren, Cynthia Richman, and Jason Lo
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  Apple Corporate Representative: Phil Schiller


  Deputy Clerk: .HOO\&ROOLQV                               Court Reporter: Raynee Mercado


     PROCEEDINGS


     Evidentiary Hearing – HELD. See attached witness and exhibit list.

     Further evidentiary hearing is set for May , 2024, at 9:00 a.m.
